                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                      NORTHERN DIVISION AT KNOXVILLE


     CIVIL ACTION NO. 3:13cv093 (WOB-HBG)

     RICHARD LEWIS, ET AL.                                 PLAINTIFF

     VS.                              ORDER

     LYDIA KORNILOFF, ET AL.                               DEFENDANTS


           This matter is before the Court on two Report and

     Recommendations (Docs. 5, 9) and plaintiffs’ objections

     thereto, and the Court having reviewed this matter, and

     being otherwise sufficiently advised,

           IT IS ORDERED that the objections of plaintiffs be,

     and they hereby are, overruled; that the Report and

     Recommendations of the Magistrate Judge be, and hereby are,

     adopted as the findings of fact and conclusions of law of

     this Court; and this case be, and is hereby, DISMISSED

     pursuant to Fed. R. Civ. P. 41(b).



           This 20th day of June, 2013.




Case 3:13-cv-00093-WOB-HBG Document 11 Filed 06/21/13 Page 1 of 1 PageID #: 1610
